Case 1:25-cv-00904-RER-JRC       Document 15     Filed 03/03/25   Page 1 of 1 PageID #: 73




                            CIVIL MINUTE CALENDAR
  Before EDNY, U.S. District Judge Ramón E. Reyes, Jr.        Courtroom 2E North
  Date: 3/3/2025            Time in Court: 12:05-12:25 PM
  Docket Number: 25-cv-0904
  Case Title: Reid v. Remekie
  Court Reporter: Victoria Torres Butler        FTR Log: N/A
  Law Clerk: EAH
  Petitioner represented by: Clover M. Barrett
  Respondent represented by: Michael C. Barrows
  Type of Hearing Held: Status Conference
  Pending Motion: N/A
  TEXT:
  Case called. Clover M. Barrett appeared on behalf of Petitioner; Michael C.
  Barrows appeared on behalf of Respondent. Discussions held. Visitation schedule
  set as follows: Starting today, Petitioner may have one four-hour visitation per
  week with the children, to take place at Respondent’s parents’ home. At present,
  overnight visits and/or visits away from Respondent’s parents’ home are not
  permitted. The parties are directed to file under seal any documents that refer to
  the children’s full names or dates of birth; any publicly available filings must refer
  to the children by their initials. The Court will file a discovery order by the end of
  the day, and the parties are directed to contact Judge Cho for discovery
  management or any discovery issues. If the parties are interested in mediation in
  front of Judge Cho, they are directed to write a joint letter to the Court and
  Magistrate Judge Cho indicating their interest.
